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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-17
                        Plaintiff,
9
                                               PRELIMINARY ORDER OF
                 v.                            FORFEITURE
10

11    HES YUN (17),

12                      Defendant.
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14
           Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY
15
     ORDERED: Defendant shall forfeit the assets, as outlined below, to the
16
     United States pursuant to 21 U.S.C. § 853, as property constituting or
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     derived from proceeds obtained, directly or indirectly, as a result of
18
     the violations to which Defendant pled guilty, and as property used, or
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20   intended to be used, in any manner or part, to commit, or to facilitate

21   the   commission   of    those   violations,     including     a   2006   Hummer   H3,

22   Washington License Number 093 UPS, VIN: 5GTDN136768173249.

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     ORDER ~ 1
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1          IT IS SO ORDERED. The District Court Executive is directed to enter
2    this Order and to provide copies to all counsel.
3
           DATED this      26th       day of January 2010.
4

5
                                        s/Edward F. Shea
6                                        EDWARD F. SHEA
                                  United States District Judge
7

8    Q:\Criminal\2009\15.17.prelim.forfeit.wpd

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     ORDER ~ 2
